           Case 1:20-cv-04997-LMM Document 33 Filed 01/10/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


    CASA DE ALABANZA and                        :
    JONESBORO COMMERCIAL                        :
    CENTER, LLC,                                :
                                                :
           Plaintiffs,                          :          CIVIL ACTION NO.
                                                :          1:20-cv-04997-LMM
    v.                                          :
                                                :
    CITY OF JONESBORO, GEORGIA,                 :
    et al.,                                     :
                                                :
           Defendants.                          :


                                            ORDER

          On January 10, 2022, the parties in this matter notified the Court that they

have reached a settlement. Accordingly, this case is ADMINISTRATIVELY

CLOSED pending the parties’ filing the dismissal.1 The parties are DIRECTED

to file within SIXTY (60) days of the date of this Order either (1) the necessary

documents to dismiss this case or (2) a joint status update notifying the Court

why they are unable to file such documents.

          IT IS SO ORDERED this 10th day of January, 2022.




1   Administrative closure of a case does not prejudice the rights of the parties to litigation

in any manner. The parties may move to re-open an administratively closed case at any

time.
Case 1:20-cv-04997-LMM Document 33 Filed 01/10/22 Page 2 of 2




                           _____________________________
                           Leigh Martin May
                           United States District Judge




                             2
